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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
           U.S. MAGISTRATE JUDGE MINUTE ENTRY


(X) TELEPHONE STATUS CONFERENCE

                          JUDGE RONALD E. BUSH


ESR/Deputy Clerk: Lynette C. Case
Date: JANUARY 15, 2020
CV. 09-540-S-REB
(Boise,Idaho)
10AM (45 min)


ROBERT MARTIN, et al,
                                      Howard Belodoff/Eric Tars/Michael Bern
                                                    (Noah Heinz)
            Plaintiffs,                     Attorneys for Plaintiffs,
vs.
CITY OF BOISE, et al,               Mike Moore/*Brady Hall/(Jayme Sullivan)
                  Defendants.                      Attorney for Defendants.

Court reviewed the record.
Parties advised the Court of their positions of this case.

ORDER: No later than JANUARY 31, 2020, Counsel shall file a 10 page brief
stating their position regarding whether or not Ms. Hawkes remains in this
case; as discussed on the record. No replies shall be filed. Court referenced
its prior Order/DOC. 286.

Counsel shall confer regarding pending motion for costs/DOC.316 and advise
the Court if this is resolved; as discussed on the record.

                        COURT SHALL ENTER AN ORDER
